

















&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; NO.
12-07-00043-CR

NO. 12-07-00044-CR

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

TWELFTH COURT OF APPEALS DISTRICT

&nbsp;

TYLER, TEXAS

&nbsp;

§&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

&nbsp;

IN RE: KENNETH LEON
SNOW, §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ORIGINAL
PROCEEDING

RELATOR

§&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

&nbsp;

&nbsp;



MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER CURIAM

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Kenneth Leon
Snow seeks a writ of mandamus compelling the trial court to withdraw Snow’s “involuntary”
guilty plea, (2) vacate his sentence, which he alleges is void, and (3) return
Snow to the position he occupied prior to entering his guilty plea.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The party
seeking mandamus relief has the burden to provide a record sufficient to
establish his entitlement to such relief.&nbsp;
Walker v. Packer, 827 S.W.2d 833, 837 (Tex. 1992).&nbsp; To that end, the relator in a mandamus
proceeding must file along with his petition a certified or sworn copy of every
document that is material to his claim for relief and that was filed in any
underlying proceeding.&nbsp; Tex. R. App. P. 52.3(j)(1)(A),
52.7(a)(1).&nbsp; Here, Snow did not provide
copies of any documents that are material to his claim for relief.&nbsp; Consequently, he has failed to meet his
burden to provide a record sufficient to establish his entitlement to
relief.&nbsp; Accordingly, the petition for
writ of mandamus is denied.&nbsp;


Opinion delivered February 9,
2007.

Panel consisted of Worthen, C.J., Griffith, J., and
Hoyle, J.

&nbsp;

&nbsp;

(DO NOT PUBLISH)





